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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                              )     CHAPTER 7
 DAVID VANVURST, JR.,                                )
 MARIA LYNN VANVURST,                                )     CASE NO. 21-52634-JWC
 AKA MARIA CHIUSANO,                                 )
                                                     )
        Debtors/Movants,                             )
                                                     )
 vs.                                                 )
                                                     )
 PARAGON BANK,                                       )
                                                     )
        Respondent.                                  )

                           MOTION TO AVOID JUDICIAL LIEN

        COME NOW, the Debtors in the above-styled case and show the Court the following:

                                                1.
        This case was commenced by the filing of Voluntary Petition for relief under Chapter 7
of the United States Code on March 31, 2021.

                                                2.
        This Motion is filed by the Debtors under 11 U.S.C., Section 522(F) to avoid a judicial
lien.

                                                3.

        Debtors own real property located at 2459 Huntington Park Drive, Ackworth, Georgia
30101 (the “Property”) and have listed the value of said Property on Schedule A/B of Debtors’
bankruptcy petition as $544,489.00.

                                                4.

        The Debtors hold a mortgage with Suntrust Bank, Now Truist, secured by the Property
with a balance at the time of filing of approximately $333,904.00. On or about May 3, 2017,
The Debtors obtained a loan from Cornerstone Bank in the amount of $335,000.00 and on June
7, 2017, Cornerstone Bank recorded a Security Deed as to the Property with the Clerk of the
Superior Court of Cobb County (Deed Book: 15448 Pg: 5929). Said Security Deed was assigned
to Truist Bank on April 12, 2021 (Deed Book: 15893 Pg: 3983) (the “First Priority Lien”).
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                                                5.

       The Debtors obtained a Small Business Administration Loan through Cornerstone Bank
on or about May 28, 2014 in the amount of $1,132,000.00 and Cornerstone Bank recorded a
Security Deed as to the Property with the Clerk of the Superior Court of Cobb County (Deed
Book: 15162 Pg: 1421-1427) on June 10, 2014 (the “SBA Security Deed”). On May 3, 2017, the
Debtors and Cornerstone Bank entered into a Subordination Agreement that made the SBA
Security Deed subordinate to the First Priority Lien now held by Truist Bank. The Subordination
Agreement was recorded with the Clerk of the Superior Court of Cobb County (Book: 15448 Pg:
5928) on June 7, 2017.

                                                6.

       Pearl Delta Funding, LLC (“Pearl Delta”) obtained a judgment against the Debtors in the
amount of $55,820.33 on October 5, 2018 and said judgment was obtained in the Supreme Court
of the State of New York, County of Niagara, with case number 19-A-551. Pearl Delta obtained
a lien by filing its FiFa in the Superior Court of Cobb County on May 15, 2019 (Lien Book 127
Pg: 6326).

                                                7.

       Debtors have moved this Court in a separate motion to avoid the Judgment Lien of Pearl
Delta to the extent that there is no unexempt equity in any of Debtors’ real and personal property
to which the lien can attach (Doc. No. 35). The amount of Pearl Delta’s lien Debtors seek to
avoid is $49,700.33.

                                                8.

       Respondent, Paragon Bank, obtained a judgment against the Debtors in the amount of
$1,690,781.71 on May 6, 2019 and said judgment was obtained in the Superior Court of Cobb
County, Georgia with case number 18-1-8806-56. Respondent obtained a lien by filing its FiFa
in the Superior Court of Cobb County on June 11, 2019 (Lien Book 128 Pg 3571).

                                                9.

       Debtors have claimed a homestead exemption of $23,000.00 relative to the Property.
Based on the value of the property, all liens superior to Respondent’s, Debtors’ lien avoidance
action as to Pearl Delta, and Debtors’ exemptions, there is no unexempt equity in any of Debtors’
real and personal property to which Respondent’s lien can attach.
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                                                10.

        The judicial lien of Respondent has created a cloud on the title of all real and personal
property owned by the Debtors and such lien impairs the Debtors’ exemptions to which they are
entitled.

        WHEREFORE, Debtors pray for the following:
            a) That the judicial lien of Respondent impairing the Debtors’ exemption to which
               they are entitled be voided and declared null and of no effect; and
            b) That the Debtors have such other and further relief as this Court deems just and
               proper.

        This 22nd day of July , 2021.


                                                      Respectfully Submitted by,
                                                      BURROW & ASSOCIATES, LLC

                                                                 /s/
                                                      Michael F. Burrow
                                                      Attorney for the Debtors/Movants
                                                      Georgia Bar No. 317998
                                                      2280 Satellite Blvd.
                                                      Bldg. A, Suite 100
                                                      Duluth, Georgia 30097
                                                      (678) 942-8640
                                                      bankruptcy@legalatlanta.com
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                     IN THE UNITED STATES BANKRUPTCY COURT
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                                ATLANTA DIVISION

 IN RE:                                            )       CHAPTER 7
 DAVID VANVURST, JR.,                              )
 MARIA LYNN VANVURST,                              )       CASE NO. 21-52634-JWC
 AKA MARIA CHIUSANO,                               )
                                                   )
       Debtors/Movants,                            )
                                                   )
 vs.                                               )
                                                   )
 PARAGON BANK,                                     )
                                                   )
       Respondent.                                 )

   NOTICE OF REQUIREMENT OF RESPONSE TO MOTION TO AVOID LIEN ON
             EXEMPT PROPERTY AND OF TIME TO FILE SAME

       NOTICE IS HEREBY GIVEN that a Motion To Avoid a Judicial Lien on exempt
property pursuant to 11 U.S.C. Section 522 has been filed in the above-style case.
       NOTICE IS FURTHER GIVEN that, pursuant to Local Rule 6008-1(b), Northern District
of Georgia, the Respondent must file a response to the Motion within twenty-one (21) days after
service, exclusive of the day of service, and serve a copy of same on Debtors/Movants. In the
event no response is timely filed and served, then the Bankruptcy Court may enter an order
granting the relief sought.

       This 22nd day of July , 2021.

                                                    Respectfully Submitted by,
                                                    BURROW & ASSOCIATES, LLC

                                                                   /s/
                                                    Michael F. Burrow
                                                    Attorney for the Debtors/Movants
                                                    Georgia Bar No. 317998
                                                    2280 Satellite Blvd.
                                                    Bldg. A, Suite 100
                                                    Duluth, Georgia 30097
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                                  CERTIFICATE OF SERVICE

       I do hereby certify that I have this day served the within and foregoing Motion To Avoid
Lien and Notice of Time To Respond by depositing same in the United States mail, properly
addressed as follows:
                                        Tamara M. Ogier
                                        Chapter 7 Trustee
                                     170 Mitchell Street, SW
                                       Atlanta, GA 30303

                                Paragon Bank (FDIC Cert # 57874)
                            Certified Mail # 7018 2290 0001 6956 7898
                                   Attn: Robert S. Shaw, Jr., CEO
                                       5400 Popular Avenue
                                        Memphis, TN 38119

                                Paragon Bank (FDIC Cert # 57874)
                            Certified Mail # 7018 2290 0001 6956 7935
                                    Attn: Lewis W. Perkins, CFO
                                        5400 Popular Avenue
                                        Memphis, TN 38119

                                Paragon Bank (FDIC Cert # 57874)
                            Certified Mail # 7018 2290 0001 6956 7928
                            Attn: Robert S. Shaw, Jr., Registered Agent
                                  5400 Popular Avenue, Suite 350
                                       Memphis, TN 38119

                                         Paragon Bank
                              c/o Busch Slipakoff Mills and Slomka
                                       Attn: Bryan Busch
                              3350 Riverwood Parkway, Suite 2100
                                      Atlanta, GA 30339

                                          Paragon Bank
                                         c/o Bryan Bush
                                     2970 Clairmont Road NE
                                       Atlanta, GA 30329

                                        Pearl Delta Funding
                        c/o Corporation Service Company, Registered Agent
                                          80 State Street
                                     Albany, NY 12207-2543
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                                Pearl Delta Funding
                                Attn: J. David Stuart
                          The J.D. Stuart Law Group, LLC
                         1825 Barrett Lakes Blvd., Suite 500
                               Kennesaw, GA 30144

                                  Pearl Delta Funding
                                   c/o Ariel Bouskila
                                   40 Exchange Place
                                 Floral Park, NY 11001

                                  Pearl Delta Funding
                                   c/o Ariel Bouskila
                                80 Broad St., Suite 3303
                                 New York, NY 10004

                                    Stuart Law Group
                                   c/o Dan Blackman
                                  110 Jericho Turpike
                                 Floral Park, NY 11001

                                  Suntrust Bank
                                 Attn: Bankruptcy
                        Mailcode VA-RVW-6290 POB 8509
                              Richmond, VA 23286

                                 Synchrony Bank
                       c/o PRA Receivables Management, LLC
                                Attn: Valerie Smith
                                  PO Box 41021
                                Norfolk, VA 23541

                                   KLC Financial, Inc.
                               c/o Dressler & Peters, LLC
                                Attn: Dennis A. Dressler
                             70 W. Hubbard Street, Suite 200
                                   Chicago, IL 60654

                       Conerstone Bank (FDIC Cert # 35027)
                           c/o Steven G. Deaton, CEO
                               2060 Mt. Paran Road
                                Atlanta, GA 30327
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                                 Cornerstone Bank
                          c/o Kitchens Kelly Gaynes, P.C.
                           Attn: C. Joseph Hoffman, Esq.
                         Glenridge Highlands One, Suite 800
                             5555 Glenridge Connector
                                 Atlanta, GA 30342

                                   David VanVurst, Jr.
                                  Maria Lynn VanVurst
                             2459 Huntington Park Drive NW
                                  Acworth, GA 30101

           This 22nd day of July , 2021.
                                              Respectfully Submitted by,
                                              BURROW & ASSOCIATES, LLC

                                                             /s/
                                              Michael F. Burrow
                                              Attorney for the Debtors/Movants
                                              Georgia Bar No. 317998
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